                          EXHIBIT 4
Document Type                                               Page

A. Certificate of True Copy                                 1
B. Portal Docket 20240327                                   2
C. Release Order                                            6
D. Warrant for Arrest Returned Served                       8
E. Indictment                                               17
F. Motion for Bond Reduction                                20
G. Order on Motion for Bond Reduction                       22
H. Request for Arraignment                                  23
I. Appearance Bond                                          24




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                               0001

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                                                          Lee Superior Court

                                                          Case Summary
                                                       Case No. 23CR230013-520


 STATE OF NORTH CAROLINA VS PAULINO                                  §                    Location: Lee Superior Court
 CASTELLANOS                                                         §                    Filed on: 02/15/2023



                                                         Case Information

                                                                    Offense                    Case Type: Criminal
Offense                                     Statute       Degree                 Filed Date
                                                                    Date                      Case Status: 07/06/2023 Disposed
 1. RAPE OF A CHILD                         14-           FB1       07/06/2011   02/15/2023
                                            27.2A(A)
    Offense Reports
       Agency: Sanford Police Department
                225 East Weatherspoon St
                Sanford, NC, 27330
2. INDECENT LIBERTIES WITH               14-202.1         FF        07/06/2011   02/15/2023
   CHILD
3. RAPE OF A CHILD                          14-           FB1       07/06/2011   02/15/2023
                                            27.2A(A)
4. SEXUAL OFFENSE WITH A CHILD              14-           FB1       07/06/2011   02/15/2023
                                            27.4A(A)
5. SEXUAL OFFENSE WITH A CHILD              14-           FB1       07/06/2011   02/15/2023
                                            27.4A(A)
6. ATTEMPT 1ST DEGREE SEX                   14-27.4       FB2       07/06/2011   02/15/2023
   OFFENSE
 7. ATTEMPT 1ST DEGREE SEX                  14-27.4       FB2       07/06/2011   02/15/2023
    OFFENSE

Related Cases

Bonds
Unsecured Bond                 #23B007445
 02/23/2023                    Posted
 Counts: 1, 2, 3, 4, 5, 6, 7




                                                      Assignment Information

               Current Case Assignment
               Case Number 23CR230013-520
               Court         Lee Superior Court
               Date Assigned 02/22/2023



                                                         Party Information

 Defendant          CASTELLANOS, PAULINO
                     322 WINTERLOCKEN DR
                     SANFORD, NC 27330-8904
                     Other
                     Male
 State              STATE OF NORTH CAROLINA BARTHOLOMEW, TIFFANY MARIE
                     Other                  Retained


                                                                PAGE 1 OF 4                         Printed on 03/27/2024 at 12:07 PM

                                                                   0002

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                                                          Lee Superior Court

                                                          Case Summary
                                                       Case No. 23CR230013-520
Law         SOTO, I
Enforcement 225 EAST WEATHERSPOON ST
Officer      LEE County
             SANFORD, NC 27330



                                                            Case Events

06/02/2023    Motion                                                                            Index # 1 5
                DA's Office
                Created: 06/02/2023 11:01 AM
06/02/2023    Motion                                                                            Index # 14
                Motion in Limine
                Created: 06/02/2023 8:44 AM
05/30/2023
              Motion to Continue
                Motion to Continue
                Created: 05/30/2023 11:07 AM
03/17/2023                                                                                      Index # 1 1
              Notice of Return of Bill of Indictment
                Created: 03/17/2023 4:23 PM
03/13/2023                                                                                      Index # 10
              Indictment Issued
              Charges:
                1. RAPE OF A CHILD (3635)
                2. INDECENT LIBERTIES WITH CHILD (1118)
                3. RAPE OF A CHILD (3635)
                4. SEXUAL OFFENSE WITH A CHILD (3636)
                5. SEXUAL OFFENSE WITH A CHILD (3636)
                6. ATTEMPT 1ST DEGREE SEX OFFENSE (1144)
                7. ATTEMPT 1ST DEGREE SEX OFFENSE (1144)
                 Created: 03/16/2023 4:05 PM
02/23/2023                                                                                      Index # 13
              Bond Posted
                Created: 02/24/2023 9:26 AM
02/23/2023    Notice of Return of Bill of Indictment                                            Index # 8
                Created: 02/23/2023 12:19 PM
02/16/2023                                                                                      Index # 5
              Other/Miscellaneous
                Request for Arraignment
                Created: 02/16/2023 3:10 PM
02/15/2023                                                                                      Index # 4
              Motion for Bond Modification
                Judgement Order
                Created: 02/15/2023 3:27 PM
02/15/2023                                                                                      Index # 3
              Motion for Bond Modification
                Bond Reduction
                Created: 02/15/2023 10:20 AM
02/13/2023                                                                                      Index # 6
              Indictment Issued
              Charges:
                1. RAPE OF A CHILD (3635)
                2. INDECENT LIBERTIES WITH CHILD (1118)
                3. RAPE OF A CHILD (3635)
                4. SEXUAL OFFENSE WITH A CHILD (3636)
                5. SEXUAL OFFENSE WITH A CHILD (3636)

                                                             PAGE 2 OF 4         Printed on 03/27/2024 at 12:07 PM

                                                                0003

             Case 1:23-cv-00423-WO-JLW Document 94-4 Filed 04/09/24 Page 4 of 26
                                                    Lee Superior Court

                                                    Case Summary
                                             Case No. 23CR230013-520
               6. ATTEMPT 1ST DEGREE SEX OFFENSE (1144)
               7. ATTEMPT 1ST DEGREE SEX OFFENSE (1144)
                Created: 02/21/2023 11:33 AM
02/10/2023                                                                                               Index # 7
              Warrant for Arrest Returned Served
                Created: 02/22/2023 4:16 PM
02/10/2023                                                                                               Index # 2
              Release Order Issued
                Created: 02/15/2023 8:41 AM
02/08/2023    Warrant For Arrest Issued                                                                  Index # 1
                Created: 02/15/2023 8:37 AM



                                                      Dispositions

07/06/2023 Disposition
            1. RAPE OF A CHILD
               Superior Dismissed by the Court - No Plea Agreement
            2. INDECENT LIBERTIES WITH CHILD
               Superior Dismissed by the Court - No Plea Agreement
            3. RAPE OF A CHILD
               Superior Dismissed by the Court - No Plea Agreement
            4. SEXUAL OFFENSE WITH A CHILD
               Superior Dismissed by the Court - No Plea Agreement
            5. SEXUAL OFFENSE WITH A CHILD
               Superior Dismissed by the Court - No Plea Agreement
            6. ATTEMPT 1ST DEGREE SEX OFFENSE
               Superior Dismissed by the Court - No Plea Agreement
            7. ATTEMPT 1ST DEGREE SEX OFFENSE
               Superior Dismissed by the Court - No Plea Agreement
           Created: 07/06/2023 1:08 PM



                                                        Hearings

07/04/2023 CANCELED Arraignment- In Person (10:00 AM)
             Resource: Location 520-0002 Lee Co. Courthouse, Courtroom 2
             04/24/2023 Reset by Court to 07/04/2023
             Moot
           Created: 03/17/2023 4:32 PM
07/04/2023 CANCELED Arraignment (10:00 AM)
             Resource: Location 520-0002 Lee Co. Courthouse, Courtroom 2
             03/13/2023 Reset by Court to 03/27/2023
             03/27/2023 Reset by Court to 07/04/2023
             Moot
           Created: 02/22/2023 4:42 PM
06/12/2023 Jury Trial (10:00 AM) (Judicial Officer: GILCHRIST, C WINSTON)
             Resource: Location 520-0002 Lee Co. Courthouse, Courtroom 2
             03/27/2023 Reset by Court to 06/12/2023
                Hearing Held
           Created: 03/09/2023 2:36 PM
02/15/2023 First Appearance Hearing (9:00 AM)
             Resource: Location 520-FAPP Lee Co. Courthouse, Courtroom First Appearance
           Created: 02/15/2023 8:43 AM



                                                     Bond Settings
                                                        PAGE 3 OF 4                       Printed on 03/27/2024 at 12:07 PM

                                                           0004

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                                                Lee Superior Court

                                                 Case Summary
                                             Case No. 23CR230013-520

02/15/2023 Bond Setting
           Set by Judge $100,000.00 Unsecured Bond




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                                                        0005

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                               0008

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                                0010

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                                0011

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                                0012

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                                0013

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                                0015

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                                0016

Case 1:23-cv-00423-WO-JLW Document 94-4 Filed 04/09/24 Page 17 of 26
     STATE 0F NORTH CAROLINA
                           LEE
                                                     county
                                                                                                      '   File No.
                                                                                                                                      23CRSZ30013
                                                                                                                   In The General Court Of Justice
                                                                                                                             Superior Court Division
                                  STATE VERSUS
                                             '
    Name And Address Of Defendant
    PAULINO CASTELLANOS.
                                                                                                                   I   N DICTMEN T
    322 WINTERLOCKEN DRIVE
-


    SANFORD, NC 27330

    Race
                             '
                                 Sex                    Date Of Birth           DThis is a superseding indictment.
                 H                       M                     06/09/1956
                                                                                         Date Of Offense
                                       Offense(s)
                                                                                           '
                                                                                                    OR                                     G.S. No.    CL.
                                                 -

                                                                                     Date Range Of Offense

        1.   STATUTORY RAPE 0F A CHILD BY AN ADULT                                   7/6/2011   -
                                                                                                    8/9/2017                 1427.2A                  B1


       11.   INDECENT LIBERTIES "WITH A CHILD                                        7/6/2011   -
                                                                                                    8/9/2017                 14-2021                   E

      111.   STATUTORY RAPE OF A CHILD BY AN ADULT                                   7/6/2011   
                                                                                                    8/9/2017                 14-27.2A                  BI

      Iv.    STATUTORY SEX OFFENSE OF A CHILD BY AN ADULT                            7/6/2011   -
                                                                                                    8/9/2017                 14-27.4A                  BI

       v.    STATUTORY SEX OFFENSE OF A CHILD BY AN ADULT                            7/6/2011   -
                                                                                                    8/9/2017                 1427.4A                  B1


     'v1.    ATT STAT RAPE OF A. CHILD BY AN ADULT                                   7/6/2011   -
                                                                                                    8/9/2017                 1427.2A                  B2


     v11.    ATT STAT RAPE OF A CHILD BY AN ADULT                                    7/6/2011   -
                                                                                                    8/9/2017                 14-27.2A                  B2


    VIII.


      IX.


       x.

       I.    The jurors for the State upon their oath present that on or about the date(s) Of offense shown and'In the county named above the
             defendant named above unlawfully, willfully and feloniously did
             engage in vaginal intercourse with K.C., a child who was under the age of 13 years, namely 5-11 years old. At the time, the
             defendant was at least 19 years of age, namely 55-61 years old.




                                                                                                                       236R23ﬂﬂ13 520
                                                                                                                       IND           6
                                                                                                                       indictment Issued
                                                                            (Over)                             I
                                                                                                                       4638
      AO'CCR-122, Rev. 2/21
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                     Case 1:23-cv-00423-WO-JLW Document 94-4 Filed 04/09/24 Page 18 of 26
0'.



      Name Of Defendant
      PAULINO CASTELLANOS
                                  STATE VERSUS
                                                                                           '   File No
                                                                                                                23CRSZ30013



        V. And the' Jurors for the State upon their oath present that on or about the date(s) of offense shown and In the county named above
           the defendant named above unlawfully, willfully and feloniously did
           engage in a sexual act with K. C. a child who was under the age of 13 years, namely, 5-11 years old. At the time, the defendant was
            at least 18 years of age, namely 55 6-1 years old.




       VI. And the Jurors for the State upon thelr oath present that on or about the date(s) of offense shown and In the county named above
           the defendant named above unlawfully, willfully and feloniously did
            attempt to engage vaginal intercourse with K. C. a child who was under the age of l3 years, namely 5-11 years old. At the time, the
            defendant was at least 19 years cf age, namely 55- 61 years old.




       VII And the Jurors for the State upon theIr oath present that on or about the date(s) of offense shown and In the county named above
            the defendant named above unlawfully, WIllfully and felonIously dId
             attempt to engage 1n vagmal Intercourse w1th K C a ch11d who was under the age of 13 years namely 5 11 years 01d At the t1me
             the defendant was at least l9 years of age namely 55 61 years old




                                                                        (Over)
        AOC CR-122 Page Two Rev 2/21
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Name Of Defendant
                                       STATE VERSUS
                                                                                                           }    File No.
                                                                                                                             23CRs230013

PAULINO CASTELLANOS
            "                 "        w
                                                          I
                                                                   SIGNATURE OF PROSECUTOR                           l:
Signature Of Prosecutor

       '
       /        '

                                                                         ]
                                                                               WITNESSES             l




g] I. SOTO, SANFORD POLICE DEPARTMENT                                                  E]

E]                                                                                     El
E]                                                                                     E]
E                                                                                      El
 The VWtnesses marked "X" were Sworn _by the undersigned Foreperson of the Grand Jury and, after hearing testimony. this
 Bill was found to be:


           ATRUE BILL by twelve or more grand jurors, and                the undersigned Foreperson of the Grand Jury, attest the concurrence of twelve
81 or more
                                                                     |




                        grand jurors in this Bill of Indictment.
 E] NOTATRUE BILL.
Date                                                                                   Signature   f Grand
                                                                                                         ' Jury Foreperson
       a,                         '7
  (.7 L
                    I




  AOC-CR-122, Page Three. Rev. 2/21
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                                     Lee County Clerk of Superior Court




                                            0020
    Electronically Filed Date: 2/15/2023 10:01 AM Lee County Clerk of Superior Court

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                                0021

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                                                                               Lee County Clerk of Superior Court
                                                                                                                    File No.
 STATE OF NORTH CAROLINA                                                                                                        23CR230013-520
                                                                                                                         In The General Court Of Justice
                        Lee
                                                   County                                                                District   Superior Court Division
 NOTE: The AOC-CR-645 (Optional Form For Criminal Judgment (District Court)) and
             other criminal judgment forms are available for use in district court cases. For
             superior court cases, other criminal judgment forms are available for use.
                               STATE VERSUS
Name Of Defendant
Paulino Castellanos                                                                                            JUDGMENT/ORDER OR
Race                          Sex                        Date Of Birth                                          OTHER DISPOSITION
               H                        Male                    06/09/1956
Attorney For State                                                                         Attorney For Defendant                           Appointed Crt Rptr Initials
                                           ef. Found
                                          D                 ef. Waived
                                                           D                    ttorney
                                                                               A
Tiffany Barthalomew                       Not Indigent     Attorney            Denied      Nicolle T.Phair                                  Retained
Offense(s)
Bond reduction to $100,000.00 UNSECURED. With Pre trial release with electronic monitoring




                                                                     SIGNATURE OF JUDGE
Date                                 Name Of Presiding Judge (type or print)                                 Signature Of Presiding Judge



                                                  Material opposite unmarked squares is to be disregarded as surplusage.
  AOC-CR-305, Rev. 2/21
  © 2021 Administrative Electronically
                        Office of the Courts                     0022
                                         Filed Date: 2/15/2023 2:58 PM Lee County Clerk of Superior Court

                   Case 1:23-cv-00423-WO-JLW Document 94-4 Filed 04/09/24 Page 23 of 26
                                Lee County Clerk of Superior Court
                                                                     23CR230013-520




                                           0023
    Electronically Filed Date: 2/16/2023 2:19 PM Lee County Clerk of Superior Court

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                                                                                                          File No.
  STATE OF NORTH CAROLINA                                                                                 23CR230013-520

                                                                                                          In The General Court Of Justice
 Lee County for Lee County                                                                          Superior Court Division

Name And Mailing Address Of Defendant
CASTELLANOS, PAULINO                                                                                        APPEARANCE BOND
322 WINTERLOCKEN DR
SANFORD NC 27330 8904                                                                                              FOR
                                                                                                             PRETRIAL RELEASE
                                                                                                                                                  G.S. 15A-531. 15A-534. 15A-54442
Telephone No. Of Defendant                           Total Bond Required                           Amount Of This Bond                          Bond No.
                                                     |   00,000.00                                 100,000.00                                   23 8007445
File Numbers And Oﬂenses
  23CR230013-520                                         RAPE OF A CHILD
                                                         INDECENT LIBERTIES WITH CHILD
                                                         RAPE OF A CHILD
                                                         SEXUAL OFFENSE WITH A CHILD
                                                         SEXUAL OFFENSE WITH A CHILD
                                                         ATTEMPT IST DEGREE SEX OFFENSE
                                                         INCEST CHILD < I3 DEF >= 4




D See Additional File Numbers And Offenses on Side Two, for which appea rance is secured by this Bond.
   Unsecured Appearance Bond I. the undersigned defendant. acknowledge that my personal representatives and l are bound to pay the State of North
                                        -




                                                         j
   Carolina the sum shown above. subject to the conditions of this Bond stated on the reverse side.

Date Of Execution OI Bond
                                                                DEFENDANT AND SURETY SIGNATURES
                                                                                                   Signor
                                                                                                                                   L
                                                                                                                         nt (nqulrld for all appearance bonds)
02/23/2023
Signature Of Surety
                                                                                                            'ﬁn 22m a
                                                                                                   Signatdre Of Surety
                                                                                                                               (atom/,4 y
 SWORNIAFFIRMED AND SUBSCRIBED TO BEFORE ME                                                         SWORNIAFFIRMED AND SUBSCRIBED TO BEFORE ME
Date                                        re                                                     Date                             Signature
02/23/2023                  ,
  E    Magistrate  D Depum                       '

                                                    S                Clerk Of
                                                                                Siva/Court           D Magistrate D Deputy csc D Assistant csc D Clerk or Superior Court
  D    Custodian Of Detention Facility [G.S. 15A-537(c)]                                             D Custodian Of Detention Facility (G. S. 15A-537lc2]
NOTE: l! cash deposited, see notes on reverse side. (see AOC-CR-238 if release                     Original File
                                                                                                              -



  AOC-CR-201 (ICMS), Rev. 2/21                                 after judgment in superior court)     (Over)
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                                                                                           0024

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                           .                 _                   _
                                                                              |
                                                                                      CONDITIONS                    I.             _
                                                                                                                                                          -
                                                                                                                                                                                     I



The conditions of this Bond are that the above named defendant shall appeal in the above entitled action(s) whenever required It Is agreed and understood
that this Bond Is effective and binding upon the defendant an'd each surety throughout all stages of the proceedings In the trial divisions of the General Court
of Justice until the entiy of judgment in the distrid court from which no appeal is taken or until the entry of judgment in the superior court. unless terminated
earlier by operation of law or order of the court. If the defendant appears as ordered until termination of the Bond. then the bond is to be void. but if the
defendant fails to appear as required. the Court will f0rfeit the bond pursuant to Part 2 ofArticle 26 of Chapter 15A of the General Statutes.
Each accommodation bondsman. byrsigning on the reverse or on the attached AOC-CR-201A. states: "I have reached the age of 18 years and am a bona
tide resident of North Carolina. Aside from love and affeaion and release of the abovenamed defendant. l have received no consideration for acting as
surety. own sufﬁcient property over and above all liabilities. homestead and other exemptions allowed me by law to enable me to pay this Bond should it
              I


be ordered forfeited. l understand that if sign this Bon'd without sufﬁcient property. l-am guilty of a crime.'
                                                     I



                                                                                                                                                                       r
                                                 I        ADDITIONAL FILE NUMBERS AND OFFENSES                                             I                                         i

Additional File Numbers And Offenses




D See Additional File Numbers And Offenses on attached AOC-CR-ZOtA Side Two. for which appearance is secured by this Bond
      -           -
                                                                                  I
                                                                                      AFFIDAVIT                 I              .                                                     l

NOTE: 'Prolessional bondsmen. surely bondsmen [bail agents]. and Iunners shall ﬁle With the clerk of court having jurisdiction over the principal an afﬁdavit on a form furnished
                                                '
      by the Administrative Ofﬁce of the Courts. G.S. 58-71-14ofd). Check all options that apply.
D 1. have not. nor has anyone for my use. been promised or received any collateral. security or premium for executing this Bond.
          I



D 2. have been promised a premium in the amount shown below. which is due on the date shown below.
          I



D 3. l have received a premium in the amount shown below.
D 4. have been given collateral security by the person named below. of the nature and in the amount shown below.
          l


Amount Ol Premium Promised                                    Date Premium Due                Amount O! Premium Received
S                                                         I                                   IS
Name OI Person From Whom Collateral Received                  Nature 0! Collateral                                  Value


                                                                                                                                                AFFIX BONDSMAN'S SEAL
                                                                                                                                                OR POWER OF ATTORNEY
                                                                                                                                                   CERTIFICATE HERE




                       '       '
                                   '

                                         I               RETURN OF CUSTODIAN OF DETENTION FACILITY
The defendant named on the reverse was released from my custody on the date shown below upon the execution of this Appearance Bond
                                                                                                                                                I   '
                                                                                                                                                                        .-   -
                                                                                                                                                                                 '


                                                                                                                                                                                     I




                                                                                                                                               D 3,, "ﬂ
                                                                                                                                               ﬂux:D
Date Defendant Releascd_               Name OI Custodian {type orpn'nt)                            Signature   lCustodi                                           Dem", Shea"


NOTES ON CASH BONDS:
                      2/e3/23
                                                   (I
                                                         "o    "Kw                                                                                            l


(1) To Ofﬁcial Taking The Bond. Use this form for all cash bonds. Complete this form as follows:
    When Cash Deposited By Defendant Or ByAnother Person Who Intends For The Cash To Be Used To Satisfy The Defendant's Obligations.
                                                                                                                          "
    Enter defendant's name, address and telephone number at the top of Side One. Check "Cash Appearance Bond By Defendant. Have defendant sign.
                                                                                                                                                "
     Do no more. No other person's name should appear on this form. Enter your name. sign and enter receipt number under "Complete It Cash Deposited.
     Make receipt out to DEFENDANT: not lo any other person.
     When Cash Deposited By Another Person Who Does NOT intend For The Cash To Be Used To Satisfy The Defendant's Obligations.
                                                                                                                         "
     Enter defendant's name. address and telephone number at the top ol Side One. Check "Surety Appearance Bond. Have defendant sign. Enter name.
                                                                                                      "
     address and telephone number of person depositing cash under "Accommodation Bondsman. Have that person sign under "Signature Of Surety."
                                                                                                                                  "
     Complete notarization for that person. Enter your name. sign and enter receipt number under 'Complete If Cash Deposited Make receipt out to person
     depositing the cash.
(2) To Bookkeeper. If case disposed without forfeiture, disburse cash as follows: (1) if "Cash Appearance Bond By Defendant" checked on Side One.
     disburse to defendant or apply to defendant's obligations if court so orders. (2) ff "Surety Appearance Bond" is checked on Side One, disburse only
     to the person(s) named under "Accommodation Bondsman."                                                                            '




(3) Bond By insurance Company Or Professional Bondsman As Surety Is Same As Cash Except In Child Support. G. S. 154-531(4) provides that
     an appearance bond executed by an insurance company ora professional bondsman (or a bail agent or runner on behalf of one of those sureties) is
     considered the same as a cash deposit, except in child support contempt proceedings for which only cash may satisfy a cash bond requirement.
    AOC-CR-201 (ICMS). Side Two. Rev. 2/21
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